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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES -- GENERAL

Case No.      SA CV 16-326-JFW (PLAx)                                              Date: June 2, 2016

Title:        Kelly Sweetser -v- Scout Industries, LLC

PRESENT:
             HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

              Cheryl Wynn                                     None Present
              Relief Courtroom Deputy                         Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                    ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                      None

PROCEEDINGS (IN CHAMBERS):                ORDER DENYING UNOPPOSED MOTION FOR
                                          EXTENSION OF TIME FOR PLAINTIFF TO MOVE FOR
                                          CLASS CERTIFICATION [filed 5/31/2016; Docket No.
                                          17]

      On May 31, 2016, Plaintiff Kelly Sweetser (“Plaintiff”) filed an Unopposed Motion for
Extension of Time For Plaintiff to Move for Class Certification (“Motion”). See Docket No. 17.

        The Court denies the Motion seeking to extend Plaintiff’s deadline to file the motion for class
certification for the following reasons:

I.       FACTUAL AND PROCEDURAL BACKGROUND

       On February 24, 2016, Plaintiff filed a Class Action Complaint in this Court, alleging the
following claims for relief: (1) Violation of 47 U.S.C. § 227 (On behalf of Plaintiff and the
Pre-recorded Message Class); (2) Violation of 47 U.S.C. § 227 et seq. (On behalf of Plaintiff and
Do Not Call Registry Class); (3) Using Automatic Dialing-Announcing Devices in Violation of Cal.
Pub. Util. Code §§ 2871-2876; (4) Using Automatic Dialing Announcing Devices in Violation of Cal.
Pub. Util. Code §§ 2871-2876; and (5) Violation of California’s Unfair Competition Law, Cal. Bus.
Prof. Code § 17200 et seq. (On behalf of Plaintiff and a California Subclass). Plaintiff brings this
action on behalf of herself and all others similarly situated.

       On February 25, 2016, the Court issued its Standing Order. In its Standing Order, the
parties were advised that “[c]ounsel shall begin to actively conduct discovery before the
Fed.R.Civ.P. 26(f) conference because at the Scheduling Conference the Court will impose tight
deadlines to complete discovery.” Standing Order, § 4(b).


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II.      LEGAL STANDARD

      Rule 23 of the Federal Rules of Civil Procedure provides that this Court must determine
whether to certify a class “[a]t an early practicable time after a person sues or is sued as a class
representative.” Fed.R.Civ.P. 23(c)(1)(A).

       The Central District of California has, in an attempt to comply with requirements of Fed. R.
Civ. P. 23, adopted Local Rule 23-3 which provides, in pertinent part:

               Within 90 days after service of a pleading purporting to commence a
               class action other than an action subject to the Private Securities
               Litigation Reform Act of 1995, P.L. 104-67, 15 U.S.C. § 772-1 et seq.,
               the proponent of the class shall file a motion for certification that the
               action is maintainable as a class action, unless otherwise ordered by
               the Court.

       Local Rule 23-3 and Fed. R. Civ. P. 23(c)(1) share an important purpose. That purpose is to
give a clear definition to the parameters of the putative class, to outline the claims involved in the
class action, and to apprise the defendants of their potential liability as soon as practicable.

        As other courts have noted, “[a] timely motion for class certification is premised on sound
practical considerations,” including preservation and protection of the putative class members’
claims. See Jones v. Hartford Ins. Co. of the Midwest, 243 F.R.D. 694, 695 (N.D. Fla. 2006). A
plaintiff’s failure to timely pursue discovery and timely file the motion for class certification calls into
question Plaintiff’s ability to “adequately protect the interests of the class.” See id. at 696.

III.     DISCUSSION

        Although the parties have apparently agreed to waive or extend the 90 day requirement for
filing a motion for class certification under Local Rule 23-3, they have failed to provide the Court
with any facts that would justify such a waiver or extension. Indeed, notwithstanding the clear
warning in the Court’s Standing Order, it appears that Plaintiff has yet to conduct any discovery.

IV.      CONCLUSION

       Accordingly, Plaintiff has failed to demonstrate good cause with respect to extending the
deadline for filing a motion for class certification and the Court DENIES the Motion.

         IT IS SO ORDERED.




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